                 Case 2:17-cr-00041-TLN Document 41 Filed 09/27/17 Page 1 of 3


 1 PHILLIP A. TALBERT
   United States Attorney
 2 OWEN ROTH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0041 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   JAMES SMALLWOOD and                                 DATE: September 28, 2017
     JOHN SMALLWOOD,                                     TIME: 10:00 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendants.
16

17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and Defendants, by and
19 through Defendants’ counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for a status conference on September 28, 2017. By
21 this stipulation, the parties now move to continue the status conference until October 26, 2017, at 9:30

22 a.m., and to exclude time between September 28, 2017, and October 26, 2017, under Local Code T4.

23          2.      The parties agree and stipulate, and request that the Court find the following:
24                  a)     The Government represents that the discovery associated with this case presently
25          comprises approximately 130 pages of reports and 12 audio-visual recordings that have been
26          produced to Defendants, as appropriate. The Government will be producing additional discovery
27          to Defendants and unsealing search warrants and redacted complaint affidavits in the coming
28          days.

      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:17-cr-00041-TLN Document 41 Filed 09/27/17 Page 2 of 3


 1                  b)     Counsel for Defendant desire time to review the discovery for this matter,

 2          including the discovery to be produced imminently; to conduct additional investigation and

 3          research concerning the charges and to consult with Defendants about the foregoing; to assess

 4          and discuss potential methods of resolution; and to assess going to trial.

 5                  c)     Counsel for Defendants submit that failure to grant the requested continuance

 6          would deny them reasonable time necessary for effective preparation, taking into account the

 7          exercise of due diligence. The Government does not dispute this submission.

 8                  d)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and Defendants in a trial within the original

10          date prescribed by the Speedy Trial Act.

11                  e)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of September 28, 2017 to October 26,

13          2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

14          T4] because it results from a continuance granted by the Court on the basis of the Court’s finding

15          that the ends of justice served by taking such action outweigh the best interest of the public and

16          Defendants in a speedy trial.

17          3.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: September 26, 2017                                  PHILLIP A. TALBERT
                                                              United States Attorney
22

23                                                            /s/ OWEN ROTH
                                                              OWEN ROTH
24                                                            Assistant United States Attorney
25

26 Dated: September 26, 2017                                  /s/ DOUGLAS BEEVERS
                                                              DOUGLAS BEEVERS
27
                                                              Counsel for Defendant
28                                                            JAMES SMALLWOOD


      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:17-cr-00041-TLN Document 41 Filed 09/27/17 Page 3 of 3


 1 Dated: September 26, 2017                        /s/ OLAF W. HEDBERG
                                                    OLAF W. HEDBERG
 2                                                  Counsel for Defendant
 3                                                  JOHN SMALLWOOD

 4

 5

 6
                                        FINDINGS AND ORDER
 7
          IT IS SO FOUND AND ORDERED this 26th day of September, 2017.
 8

 9

10

11
                                                        Troy L. Nunley
12
                                                        United States District Judge
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
